                                                                                 Case 2:15-cv-00799-KJM-DB Document 462 Filed 06/21/24 Page 1 of 5


                                                                             1   ARNALL GOLDEN GREGORY LLP
                                                                                 Richard T. Collins (Bar No. 166577)
                                                                             2   rich.collins@agg.com
                                                                                 2100 Pennsylvania Avenue, NW
                                                                             3   Suite 350S
                                                                                 Washington, D.C. 20037
                                                                             4   Telephone: (202) 677-4030

                                                                             5   Attorney for Defendants:

                                                                             6   ASPEN PARK HOLDINGS, LLC; BENT TREE
                                                                                 APARTMENTS, LLC; CAMELOT LAKE HOLDINGS,
                                                                             7   LLC; CALIFORNIA PLACE APARTMENTS, LLC;
                                                                                 CANYON CLUB HOLDINGS, LLC; CHESAPEAKE
                                                                             8   APARTMENT HOLDINGS, LLC; COURTYARD AT
                                                                                 CENTRAL PARK APARTMENTS, LLC; CREEKSIDE
                                                                             9   HOLDINGS, LTD; HERITAGE PARK APARTMENTS,
                                                                                 LP; PEPPERTREE APARTMENT HOLDINGS, LP;
                                                                            10   RIVER OAKS HOLDINGS, LLC; SHADOW WAY
                                                                                 APARTMENTS, LP; WASATCH ADVANTAGE GROUP,
AR NALL GOLDEN GR EGOR Y LLP




                                                                            11   LLC; WASATCH PREMIER PROPERTIES, LLC;
                               2100 PENNSYLVANIA AV ENUE , NW, SUITE 350S




                                                                                 WASATCH QUAIL RUN GP, LLC; WASATCH POOL
                                                                            12   HOLDINGS, LLC; WASATCH POOL HOLDINGS III,
                                      A LIMITED LIABILITY PARTNERSHIP




                                                                                 LLC
                                        TELEPHONE: (202) 677.4030
                                          WASHINGTON, DC 20037




                                                                            13
                                              WWW.AGG.COM




                                                                                                                UNITED STATES DISTRICT COURT
                                                                            14                                 EASTERN DISTRICT OF CALIFORNIA
                                                                            15                                      SACRAMENTO DIVISION

                                                                            16   UNITED STATES OF AMERICA, ex rel.                    Case No.: 2:15-CV-00799-KJM-DB
                                                                                 DENIKA TERRY, ROY HUSKEY III, and
                                                                            17   TAMERA LIVINGSTON, and each of them for              CLASS ACTION
                                                                                 themselves individually, and for all other persons
                                                                            18   similarly situated and on behalf of the UNITED       OWNER AND NON-OWNER
                                                                                 STATES OF AMERICA                                    DEFENDANTS’ OPPOSITION TO
                                                                            19                                                        RELATORS’ MOTION IN LIMINE NO. 6
                                                                                        Plaintiffs/Relators,                          REGARDING THE EXAMINATION OF
                                                                            20                                                        WITNESSES ASSOCIATED WITH
                                                                                 vs.                                                  WASATCH PROPERTY MANAGEMENT
                                                                            21
                                                                                 WASATCH ADVANTAGE GROUP, LLC,
                                                                            22   WASATCH PROPERTY MANAGEMENT,                         Date: July 12, 2024
                                                                                 INC., WASATCH POOL HOLDINGS, LLC,                    Time: 10:00 AM
                                                                            23   CHESAPEAKE APARTMENT HOLDINGS,                       Dept: Courtroom 3, 15th Floor
                                                                                 LLC, LOGAN PARK APARTMENTS, LLC,                     Before: Hon. Kimberly J. Mueller
                                                                            24   LOGAN PARK APARTMENTS, LP, ASPEN
                                                                                 PARK HOLDINGS, LLC, BELLWOOD                         Trial Date:   July 30, 2024
                                                                            25   JERRON HOLDINGS, LLC, BELLWOOD
                                                                                 JERRON APARTMENTS, LP, BENT TREE
                                                                            26   APARTMENTS, LLC, CALIFORNIA PLACE
                                                                                 APARTMENTS, LLC, CAMELOT LAKES
                                                                            27   HOLDINGS, LLC, CANYON CLUB
                                                                                 HOLDINGS, LLC, COURTYARD AT
                                                                            28   CENTRAL PARK APARTMENTS, LLC,
                                                                                 CREEKSIDE HOLDINGS, LTD, HAYWARD
                                                                                 Case 2:15-cv-00799-KJM-DB Document 462 Filed 06/21/24 Page 2 of 5


                                                                             1   SENIOR APARTMENTS, LP, HERITAGE
                                                                                 PARK APARTMENTS, LP, OAK VALLEY
                                                                             2   APARTMENTS, LLC, OAK VALLEY
                                                                                 HOLDINGS, LP, PEPPERTREE APARTMENT
                                                                             3   HOLDINGS, LP, PIEDMONT APARTMENTS,
                                                                                 LP, POINT NATOMAS APARTMENTS, LLC,
                                                                             4   POINT NATOMAS APARTMENTS, LP,
                                                                                 RIVER OAKS HOLDINGS, LLC, SHADOW
                                                                             5   WAY APARTMENTS, LP, SPRING VILLA
                                                                                 APARTMENTS, LP, SUN VALLEY
                                                                             6   HOLDINGS, LTD, VILLAGE GROVE
                                                                                 APARTMENTS, LP, WASATCH QUAIL RUN
                                                                             7   GP, LLC, WASATCH PREMIER
                                                                                 PROPERTIES, LLC, WASATCH POOL
                                                                             8   HOLDINGS III, LLC,
                                                                                 and DOES 1-4,
                                                                             9
                                                                                      Defendants.
                                                                            10
AR NALL GOLDEN GR EGOR Y LLP




                                                                            11
                               2100 PENNSYLVANIA AV ENUE , NW, SUITE 350S




                                                                            12
                                      A LIMITED LIABILITY PARTNERSHIP


                                        TELEPHONE: (202) 677.4030
                                          WASHINGTON, DC 20037




                                                                            13
                                              WWW.AGG.COM




                                                                            14

                                                                            15

                                                                            16

                                                                            17

                                                                            18

                                                                            19

                                                                            20

                                                                            21

                                                                            22

                                                                            23

                                                                            24

                                                                            25
                                                                            26

                                                                            27

                                                                            28

                                                                                           OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 6
                                                                                 Case 2:15-cv-00799-KJM-DB Document 462 Filed 06/21/24 Page 3 of 5


                                                                             1   DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 6
                                                                             2     I.    Introduction
                                                                             3           Owner and Non-Owner Defendants (“Defendants”) hereby oppose Relators’ Motion in
                                                                             4   Limine No. 6 regarding the examination of witnesses associated with Wasatch Property
                                                                             5   Management, Inc. (“WPM”) (the “Motion,” ECF 422) to the extent it forecloses counsel for
                                                                             6   Defendants’ ability to adequately protect Defendants interests during the Phase 1 trial. In their
                                                                             7   motion, Relators attempt to downplay the conflict of interest identified by WPM and seek to prevent
                                                                             8   counsel for Defendants from treating WPM witnesses as adverse witnesses under Rule 611(c)(2).
                                                                             9   As explained below, Defendants object to Relators’ characterization of the conflict of interest and
                                                                            10   oppose Relators’ motion to the extent it seeks to prevent Defendants from treating WPM witnesses
AR NALL GOLDEN GR EGOR Y LLP




                                                                            11   as adverse if those witnesses offer testimony hostile to Defendants’ interests. Specifically, Relators
                               2100 PENNSYLVANIA AV ENUE , NW, SUITE 350S




                                                                            12   seek to impose a blanket rule governing Defendants conduct at trial, which is entirely premature
                                      A LIMITED LIABILITY PARTNERSHIP


                                        TELEPHONE: (202) 677.4030
                                          WASHINGTON, DC 20037




                                                                            13   without the context of trial, witness testimony, and evidence. Defendants request that the Court deny
                                              WWW.AGG.COM




                                                                            14   Relators’ Motion as premature, or in the alternative, defer ruling until trial where the Court can
                                                                            15   consider the context of a witness and testimony.
                                                                            16     II.   Argument
                                                                            17           To start, it bears noting that Defendants’ role at Phase 1 has yet to be determined. The Court
                                                                            18   has instructed the parties to confer and file a joint report to the Court regarding Defendants’
                                                                            19   participation in the Phase 1 trial. (See Transcript, Final Pretrial Conf. Hearing (March 29, 2024), at
                                                                            20   16.) In that report, the parties will clarify the role of Defendants.
                                                                            21           Next, Defendants object to Relators’ characterization regarding the conflict of interest at
                                                                            22   issue. Relators’ motion mischaracterizes and downplays the clear conflict of interest between WPM
                                                                            23   and Defendants. WPM identified a nonwaivable conflict of interest arising from clearly divergent
                                                                            24   interests between property manager and property owners. (See Ex Parte Application, ECF 349, at
                                                                            25   8; Reply Mot. to Modify Bifurcation Order, ECF 394 at 4-5.) Moreover, contrary to Relators’
                                                                            26   contention, the divergent interests could affect Defendants’ strategies and defenses at the Phase 1
                                                                            27   trial, which is entirely dependent on the case put forth by Relators.
                                                                            28
                                                                                                                                   1
                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 6
                                                                                 Case 2:15-cv-00799-KJM-DB Document 462 Filed 06/21/24 Page 4 of 5


                                                                             1          Relators’ contention that “the interests of all Defendants to the FCA claim are aligned in
                                                                             2   defeating any finding of liability under the FCA[,]” (Pls.’ Mot. in Lim. 6, ECF 422 at 2), is
                                                                             3   unpersuasive. Boiled down, Relators suggest that co-defendants cannot possibly be adverse to one
                                                                             4   another simply because neither wants to be found liable. This cannot be the standard. By this logic,
                                                                             5   no co-defendants could ever be considered adverse so long as each defendant wishes to defeat
                                                                             6   liability. Relators conveniently overlook the fact that each separate defendant wants to defeat
                                                                             7   liability as to itself, even if that means shifting the blame elsewhere. Relators attempt to circumvent
                                                                             8   this reality by suggesting “it is not a defense to the False Claims Act that an agent submitted false
                                                                             9   claims while acting on behalf of another party[.]” (Pls.’ Mot. in Lim. 6, ECF 422 at 3.) Relators,
                                                                            10   however, completely ignore scienter as an element of any false claims act claim. The FCA’s scienter
AR NALL GOLDEN GR EGOR Y LLP




                                                                            11   element “refers to respondents’ knowledge and subjective beliefs,” and turns on “what the defendant
                               2100 PENNSYLVANIA AV ENUE , NW, SUITE 350S




                                                                            12   knew when presenting the claim.” U.S. ex rel. Schutte v. SuperValu Inc., 598 U.S. 739, 749, 752
                                      A LIMITED LIABILITY PARTNERSHIP


                                        TELEPHONE: (202) 677.4030
                                          WASHINGTON, DC 20037




                                                                            13   (2023). Without knowing how Relators intend to prove their case or the evidence they intend to
                                              WWW.AGG.COM




                                                                            14   introduce to the jury, a blanket rule should be not established that prevents Defendants from fully
                                                                            15   defending their case at trial in response to Relators’ arguments. Moreover, defending FCA liability
                                                                            16   at Phase 1 is not the end of the story. Relators’ entire case at Phase 2 is predicated on extending
                                                                            17   liability to Defendants, so anything adduced at Phase 1 will be used in Phase 2. This creates a
                                                                            18   divergence of interests at Phase 1. Overall, Defendants object to Relators’ overly simplistic view of
                                                                            19   the divergent interests of WPM and Defendants at the Phase 1 trial.
                                                                            20          Further, Relators’ argument concerning the “available evidence” allegedly undercutting any
                                                                            21   claim of adversity between WPM and Wasatch Advantage Group, Wasatch Pool Holdings, and
                                                                            22   Chesapeake Commons Apartments Holdings is entirely misplaced. Relators have repeatedly
                                                                            23   objected to Defendants’ attempt to consolidate Phase 1 and Phase 2 trials. Now, however, because
                                                                            24   it suits them to do so, Relators seek to drag allegations regarding Phase 2 issues, such as the alleged
                                                                            25   affiliation of entities, into Phase 1, in an attempt to tie Defendants hands at trial. If a WPM witness
                                                                            26   offers testimony or evidence that would purport to foist responsibility onto Defendants, or if Relators
                                                                            27

                                                                            28
                                                                                                                                   2
                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 6
                                                                                 Case 2:15-cv-00799-KJM-DB Document 462 Filed 06/21/24 Page 5 of 5


                                                                             1   introduce evidence or testimony regarding the same, Defendants should be allowed to treat that
                                                                             2   witness as hostile if necessary pursuant to under Rule 611(c)(2).
                                                                             3          Defendants also seek to impose an improper blanket rule governing Defendants conduct at
                                                                             4   trial. Such a motion in limine in disfavored and is premature without the context of trial and the
                                                                             5   evidence presented. See United States v. Jackson, No. 2:13-CR-00674-CAS, 2016 WL 4059615, at
                                                                             6   *2 (C.D. Cal. July 25, 2016) (“[M]otions in limine should rarely seek to exclude broad categories
                                                                             7   of evidence, as the court is almost always better situated to rule on evidentiary issues in their factual
                                                                             8   context during trial.”) (citations omitted). Defendants believe a determination of this issue at this
                                                                             9   point is premature and are confident the Court can decide these issues as they arise at trial.
                                                                            10    III. Conclusion
AR NALL GOLDEN GR EGOR Y LLP




                                                                            11          For the reasons outlined above, Defendants respectfully request that the Court deny Relators’
                               2100 PENNSYLVANIA AV ENUE , NW, SUITE 350S




                                                                            12   Motion in Limine No. 6.
                                      A LIMITED LIABILITY PARTNERSHIP


                                        TELEPHONE: (202) 677.4030
                                          WASHINGTON, DC 20037




                                                                            13
                                              WWW.AGG.COM




                                                                            14    Dated: June 21, 2024                          ARNALL GOLDEN GREGORY LLP
                                                                            15

                                                                            16                                                  By: /s/ Richard T. Collins
                                                                                                                                    Richard T. Collins
                                                                            17                                                      Attorneys for Defendants:
                                                                            18                                                        ASPEN PARK HOLDINGS, LLC; BENT TREE
                                                                                                                                      APARTMENTS, LLC; CAMELOT LAKE
                                                                            19                                                        HOLDINGS, LLC; CALIFORNIA PLACE
                                                                                                                                      APARTMENTS, LLC; CANYON CLUB
                                                                            20                                                        HOLDINGS, LLC; CHESAPEAKE
                                                                                                                                      APARTMENT HOLDINGS, LLC;
                                                                            21                                                        COURTYARD AT CENTRAL PARK
                                                                                                                                      APARTMENTS, LLC; CREEKSIDE
                                                                            22                                                        HOLDINGS, LTD; HERITAGE PARK
                                                                                                                                      APARTMENTS, LP; PEPPERTREE
                                                                            23                                                        APARTMENT HOLDINGS, LP; RIVER OAKS
                                                                                                                                      HOLDINGS, LLC; SHADOW WAY
                                                                            24                                                        APARTMENTS, LP; WASATCH
                                                                                                                                      ADVANTAGE GROUP, LLC; WASATCH
                                                                            25                                                        PREMIER PROPERTIES, LLC; WASATCH
                                                                                                                                      QUAIL RUN GP, LLC; WASATCH POOL
                                                                            26                                                        HOLDINGS, LLC; WASATCH POOL
                                                                                                                                      HOLDINGS III, LLC
                                                                            27

                                                                            28
                                                                                                                                   3
                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 6
